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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING

 THE UNITED STATES OF AMERICA,

                Plaintiff,                        Case No. 1:20-cr-45-F

                vs.

 CODY DONOVAN SMITH,

                Defendant.

     DEFENDANT CODY SMITH’S MOTION FOR REVOCATION OF DETENTION
                  ORDER AND FOR PRETRIAL RELEASE

       Defendant Cody Smith, through undersigned counsel, and pursuant to 18 U.S.C. §

3145(b), respectfully moves this Court to review and revoke the Detention Order issued by

Magistrate Judge Richard B. Farrer for the Western District of Texas on April 7, 2020 (Doc. 9,

Rule 5 Documents) and to order Mr. Smith released pending trial. Mr. Smith states as follows:

I.     Background

       Mr. Smith is 20 years old. He graduated from high school in the spring of 2019. In May

of 2019, he enlisted in the United States Navy. At the time of his arrest, Mr. Smith was stationed

at Fort Sam Houston in San Antonio, Texas and training to become a medic.

       Mr. Smith was charged by indictment with kidnapping in violation of 18 U.S.C. §

1201(a)(1) and unlawful sexual contact in violation of 18 U.S.C. § 2244(a)(1) for conduct alleged

to have occurred on or about September 7, 2019 through September 8, 2019 in Idaho,

Yellowstone National Park and the District of Wyoming.




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         Mr. Smith was arrested on March 31, 2020 with an initial appearance the same day (Doc.

7, Warrant Return Executed). Mr. Smith appeared for a detention hearing on April 7, 2020

before Magistrate Judge Richard B. Farrer for the Western District of Texas, who ordered him

detained.

         Mr. Smith supplies two exhibits to this motion. First, Mr. Smith attaches the transcript

of the detention hearing. Second, Mr. Smith attaches the exhibits his attorney offered at the

detention hearing. It does not appear that his exhibits in support of his defense to the motion for

detention are part of the docket in 5:20-mj-00487-HJB-1, although the transcript shows that

the exhibits were considered by the magistrate.

II.      Argument

         Mr. Smith now asks this Court to review and revoke the order of Magistrate Judge Farrer

and to order Mr. Smith released with appropriate conditions. In light of Mr. Smith’s strong

community ties and lack of criminal history, the government cannot demonstrate by a

preponderance of the evidence that Mr. Smith is such a risk of flight that no condition or

combination of conditions will reasonably assure his appearance at future proceedings.

Additionally, the government cannot prove by clear and convincing evidence that no condition

or combination of conditions will reasonably assure the safety of any other person and the

community.

      A. Standard of review

         (b) Review of a detention order.--If a person is ordered detained by a magistrate
         judge, or by a person other than a judge of a court having original jurisdiction over
         the offense and other than a Federal appellate court, the person may file, with the
         court having original jurisdiction over the offense, a motion for revocation or
         amendment of the order. The motion shall be determined promptly.

18 U.S.C. § 3145(b).

         This Court conducts a de novo review of the magistrate judge’s detention order under 18

U.S.C. § 3145(b). See, e.g., United States v. Bean, No. CRIM. 13-CR-00120-REB, 2013 WL


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4046707, at *1 (D. Colo. Aug. 8, 2013) (“My review of the Magistrate Judge’s order [# 21] of

April 9, 2013, is de novo.”). “On de novo review of a magistrate judge’s order, the district court is

charged with making an independent determination of the proper pretrial detention or

conditions for release.” United States v. Garcia, 445 F. App’x 105, 108 (10th Cir. 2011) (internal

quotation marks omitted). Thus, this Court “should fully reconsider a magistrate’s denial of bail

and in ruling on a motion for revocation or amendment of a detention order should not simply

defer to the judgment of the magistrate, but reach its own independent conclusion.” United

States v. Leon, 766 F.2d 77, 80 (2d Cir. 1985).

        This court is allowed to consider the transcript from the original detention hearing. See,

e.g. United States v. Allen, 605 F. Supp. 864, 871 (W.D. Pa. 1985) (“After an independent review

of the transcript of the hearing before Magistrate…”); United States v. Freitas, 602 F. Supp.

1283, 1293 (N.D. Cal. 1985) (“[A] defendant seeking review of a magistrate's order is entitled to

have the district court consider the transcript of the hearing before the magistrate as well as any

newly developed evidence that was not presented at the prior hearing.”).

    B. Testimony and findings of fact

        Mr. Smith relies on the same 12 exhibits offered in the detention hearing, attached

hereto in redacted form as Exhibit 2. These 12 exhibits include evidence of his mother’s

willingness to use her home as a surety and character references.

        At the detention hearing, the government proffered Agent Olson’s Affidavit in Support of

Search Warrant.1 The affidavit described the purported knife used in the alleged offense. “H.B.

described the knife as a fixed blade type knife with a dark handle, approximately 4-6 inches long

with a straight spine.” Affidavit in Support of Search Warrant, p. 3 ¶10.



1 It does not appear that the Affidavit in Support of Search Warrant is part of the docket in 5:20-mj-00487-

HJB-1 or the docket in this matter. Undersigned counsel’s copy of that affidavit was provided by Mr. Smith’s
Texas attorney and has marginalia and other work product, so he does not attach it to this motion.



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       At the time of the detention hearing, the government had executed the search warrant

upon Mr. Smith’s car and his mother’s residence, where he lived prior to enlisting in the U.S.

Navy. However, Agent Olson was unsure of whether the government’s search located the

purported knife. Agent Olson testified “A: … There was a knife located during the vehicle search.

I have yet to see those photos yet.” Q: “Okay. And you are aware that that was the type of knife

described by the complainant?” A “I am unaware because I haven’t seen the photos yet.” Ex. 1

Detention Transcript, p. 11:8-12.

       Upon information and belief, the government did not locate the purported knife. Later,

the magistrate made the following findings in support of its detention order:

           But ultimately, my conclusion here is controlled or compelled in my view by
           the -- by the fact that there was a knife involved in this case. I think if we were
           to take out the weapon and the credible evidence that we heard today at the
           hearing about the involvement of a nice -- of a knife in the testimony from
           Agent Olson -- which, by the way, I credit. I find that testimony credible.
           That, I think, is what -- is what makes this case one that sort of pushes it over
           the edge. There's a number of things that play into that, but that's really the --
           ultimately the thing that pushes this case for me into one where I'm not going
           to be able to give you a bond.

           But I just want to emphasize that, to me, this is a very, very close case and one
           that I fully expect my – where this issue might be revisited by the Court in
           Wyoming. You know, the Court there has got to be assured with respect to
           your ties to Wyoming or with respect to your ability to get up to Wyoming.
           And so what we're -- so what we're addressing right now is what happens to
           you pending when you get on up to Wyoming and have an opportunity for
           them to take a look at this issue.

       Ex. 1, Detention Hearing Transcript, pp. 34:13-35:7. At the time the magistrate made

such findings, he did not know that government failed to locate any purported knife after

searching Mr. Smith’s former residence and vehicle.

       Further, in this case, the government did not invoke the any rebuttable presumption

against the Defendant. Motion for a Detention Hearing, Doc. 6, ¶3.

   C. There are conditions that will reasonably assure Mr. Smith’s appearance, and
      there is insufficient evidence to find that Mr. Smith is a danger to the
      community.


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       “In our society liberty is the norm, and detention prior to trial or without trial is the

carefully limited exception.” United States v. Salerno, 481 U.S. 739, 755 (1987). “Only in rare

cases should release be denied.” United States v. Townsend, 897 F.2d 989, 994 (9th Cir. 1990)

(citing U.S. Motamedi 767 F.2d 1403 (9th Cir. 1985) (citations omitted). Congress intended

preventive detention under the Bail Reform Act to apply to “a small but identifiable group of

particularly dangerous defendants as to whom neither the impostion [sic] of stringent release

conditions nor the prospect of revocation of release can reasonably assure the safety of the

community or other persons.” United States v. Orta, 760 F.2d 887, 890 (8th Cir. 1985) (en

banc) (quoting S.Rep. No. 225, 98th Cong., 1st Sess. 6-7, reprinted in 1984 Code Cong. &

Ad.News at 3189); see also id. at 891 (“Congress envisioned the pretrial detention of only a

fraction of accused individuals awaiting trial.”); United States v. Sabhnani, 493 F.3d 63, 75 (2d

Cir. 2007) (quoting legislative history for the proposition that “it is only a ‘limited group of

offenders’ who should be denied bail pending trial”). Any doubts regarding release should be

resolved in the defendant’s favor. Townsend, 897 F.2d at 994.

       The government must prove risk of flight by a preponderance of the evidence, and it

must prove dangerousness to any other person or to the community by clear and convincing

evidence. United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003) (internal citations

omitted).

       The court is to consider the following factors:

            (g) Factors to be considered.--The judicial officer shall, in determining
            whether there are conditions of release that will reasonably assure the
            appearance of the person as required and the safety of any other person and
            the community, take into account the available information concerning--

               (1) the nature and circumstances of the offense charged, including
               whether the offense is a crime of violence, a violation of section 1591, a
               Federal crime of terrorism, or involves a minor victim or a controlled
               substance, firearm, explosive, or destructive device;

               (2) the weight of the evidence against the person;


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               (3) the history and characteristics of the person, including—

                       (A) the person's character, physical and mental condition, family
                       ties, employment, financial resources, length of residence in the
                       community, community ties, past conduct, history relating to drug
                       or alcohol abuse, criminal history, and record concerning
                       appearance at court proceedings; and

                       (B) whether, at the time of the current offense or arrest, the person
                       was on probation, on parole, or on other release pending trial,
                       sentencing, appeal, or completion of sentence for an offense under
                       Federal, State, or local law; and

               (4) the nature and seriousness of the danger to any person or the
               community that would be posed by the person's release. In considering
               the conditions of release described in subsection (c)(1)(B)(xi) or
               (c)(1)(B)(xii) of this section, the judicial officer may upon his own motion,
               or shall upon the motion of the Government, conduct an inquiry into the
               source of the property to be designated for potential forfeiture or offered
               as collateral to secure a bond, and shall decline to accept the designation,
               or the use as collateral, of property that, because of its source, will not
               reasonably assure the appearance of the person as required.

       18 U.S.C. § 3142.

       With respect to flight risk, the government has failed to establish by a preponderance of

the evidence that no set of conditions will ensure Mr. Smith’s return to Court. For example, Mr.

Smith may surrender his passport, subject himself to GPS monitoring via ankle bracelet at his

own expense and be placed under house arrest. He may be remanded to the custody of his

mother, who will execute a surety on her residence, as documented in the attached affidavits. He

may be remanded to the custody of his grandmother, with an order to remain in Wyoming

during the pendency of this action. His grandmother is willing to move to Wyoming for the

duration of this matter. Such measures are sufficient to ensure his return Court.

       With respect to the safety of the community, the government has failed to show by clear

and convincing evidence that Mr. Smith poses a danger. The magistrate judge found that this

issue was a “very, very close case” and the allegation of the knife was the deciding factor in his

analysis. To the extent the court agrees with that analysis, its conclusion is undermined by the




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fact that the government did not find the knife in its search of Mr. Smith's former residence and

his car, which suggests that the knife doesn't exist. The court, pursuant to 18 U.S.C. § 3142(g),

may consider the nature and circumstances of the charges along with the weight of the evidence

against the Mr. Smith. At this juncture,the government has no evidence, other than eyewitness

testimony, of any weapon involved in the offense.

         WHEREFORE, Mr. Smith asks the Court to conduct a de novo review of the decision to

preventively detain him and to determine that there is some condition or combination of

conditions that will reasonably assure his appearance in court and the safety of any other person

or the community.

 Dated           T•
                                                     AlexrF. Freeburg, Bar;
                                                     Freeburg Law, LLC
                                                     Box 3442
                                                     Jackson, WY 83001

                                   CERTIFICATE OF SERVICE


         This is to certify that a true and correct copy of the foregoing was sent to:

 United States Attorney's Office                     □ hand delivery
 Christ5me Martens                                   □ U.S. mail
 P.O. Box 22211                                      □ email
 100 East B Street, Suite 2211                       ^ CM-ECF
 Casper, WY 82601


 Dated       T •£ ■
                                                     Signed




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